     Case 2:11-cr-00159-RHW      ECF No. 357   filed 01/12/18   PageID.4686 Page 1 of 3




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 6

 7                      UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF WASHINGTON
 9

10     UNITED STATES OF AMERICA,                  )
                                                  )
11                        Plaintiff,              )    No. 2:11-CR-0159-RHW
12                                                )
             vs.                                  )    Proposed Plea Agreement
13                                                )    Pursuant to Court’s Order (ECF.
14     DORIS NELSON,                              )    356)
                                                  )
15                        Defendant.              )
16                                                )
17
           Plaintiff, United States of America, by and through Joseph H. Harrington,
18

19
     United States Attorney for the Eastern District of Washington, and Caitlin Baunsgard,

20 Assistant United States Attorney for the Eastern District of Washington, submits the

21
     proposed Plea Agreement pursuant to the Court’s Order (ECF. 356).
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23
           Attached hereto as Exhibit “A” is the proposed Plea Agreement the United

24 States provided to defense counsel for review as a potential pre-trial resolution to the

25
     case in the March 2014 time frame. It is the Plea Agreement that was referenced by
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29 Proposed Plea Agreement Pursuant to Court’s Order (ECF. 356)- 1
     Case 2:11-cr-00159-RHW     ECF No. 357   filed 01/12/18   PageID.4687 Page 2 of 3




     Mr. Ryan and Mr. Bugbee in their Declarations as well as in Court during the
 1

 2 Defendant’s change of plea hearing.

 3
                 DATED January 12, 2018.
 4

 5
                                          JOSEPH H. HARRINGTON
 6                                        United States Attorney
 7
                                          s/Caitlin Baunsgard
 8                                        Caitlin Baunsgard
                                          Assistant United States Attorney
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29 Proposed Plea Agreement Pursuant to Court’s Order (ECF. 356)- 2
     Case 2:11-cr-00159-RHW     ECF No. 357    filed 01/12/18   PageID.4688 Page 3 of 3




                                     CERTIFICATION
 1

 2        I hereby certify that on January 12, 2018, I electronically filed the foregoing

 3 with the Clerk of the Court using the CM/ECF System which will send notification of

 4 such filing to the following, and/or I hereby certify that I have mailed by United States

 5 Postal Service the document to the following non-CM/ECF participant(s):

 6
          Jeffry Finer: jeffry@finerwinn.com, danette@finer-bering.com, sally@finer-
 7        bering.com
 8
 9                                         s/Caitlin Baunsgard
10                                         Caitlin Baunsgard
                                           Assistant United States Attorney
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29 Proposed Plea Agreement Pursuant to Court’s Order (ECF. 356)- 3
